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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

Jennifer Steele

v.                                           Case Number: 4:22−cv−00509

Turtle Creek Assets, Ltd. , et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Alfred H Bennett
PLACE:
Courtroom 8C
United States District Court
515 Rusk Ave
Houston, TX
DATE: 7/1/2022

TIME: 09:30 AM
TYPE OF PROCEEDING: Initial Conference
Order on Motion for Continuance − #10


Date: June 14, 2022
                                                        Nathan Ochsner, Clerk
